Case 1:17-cV-02453-RC Document 1-3 Filed 11/14/17 Page 1 of 19

Form CA l-A.' Notice and Ackncwledge for Service by Mai[

SUPERIOR COURT OF THE DISTRICT OF COLUMBIA

 

 

 

CIVIL DIVISION
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V_ Case NO: 2017 CB 6761 B h __'_,-
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RAY, DARNELL er al §__~ ._ ""‘ ‘C>
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Defendant(s) ..: " ;~f ;-"¢
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To (rnsert name and address of the party to be served): z -r ;:» .._.;
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441 4th Street NW
Washington, DC 20001

 

 

The enclosed summons, complaint and initial order are served pursuant to Rule 4(c)(4) of the Superior

Court Rules of Civil Procedure.

You must sign and date the Acknowledgement (below). If you are served on behalf of a corporation,
unincorporated association (including a partnership), or other entity, you must indicate next to your signature your
relationship to that entity. If you are served on behalf of another person and you are authorized to receive process,

you must indicate next to your signature your authority.

If you do not complete and return the form to the sender within twenty (20) days atter it has been mailed,
you (or the other party on whose behalf you are being served) may be required to pay any expenses incurred in
serving a summons, complaint and initial order in any other manner permitted by law.

If you do complete and return this form, you (or the other party on whose behalf you are being served) must
answer the complaint within twenty (20) days after you have signed, dated and returned the form. lf you fail to do
so, judgment by default may be entered against you for the relief demanded in the complaint

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Sz'gnature
ACKNOWLEDGMENT OF RECEIPT OF SUMMONS, COMPLAINT, AND INITIAL ORDER

received a copy of the summons, complaint and initial

 

I (print name)
order in the above captioned matter at (insert address):

 

 

 

 

Re[ationship to Defendant/A uthorz'ty Date ofSignature

Sz'gnarure
to Receive Servz'ce

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Case 1:17-cV-02453-RC Document 1-3 Filed 11/14/17 Page 2 of 19
SUPERIOR COURT ()F THE DIS'I`RICT OF COLUMBIA
CIVIL DIVISION -
Civil Actions Branch
500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
Telephone: (202) 879-1133 - Website: www.dccourts.gov

  

CHARLES TURPIN

Vs. C.A. No. 2017 CA 006761 B
DARNELL RAY et al

INITIAL ORDER AND ADDENDUM

Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
(“Super. Ct. Civ. R.”) 40-1, it is hereby ORDERED as follows:

(l) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption. On

filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
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(2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant
copies of the summons, the complaint, and this lnitial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

(3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleadingl As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

(4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration Counsel shall discuss with their clients M to the conference whether the clients are agreeable to
binding or non-binding arbitration This order is the only notice that parties and counsel will receive
concerning this Conference.

(5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the Scheduling conference
date.

No other continuance of the conference will be granted except upon motion for good cause shown.

(6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website http://www.dccourts.gov/.

Chief Judge Robert E. l\/Iorin

Case Assigned to: Judge MICHAEL L RANKIN
Date: October 6, 2017
lnitial Conference: 10:30 am, Friday, January 05, 2018
Location: Courtroom 517
500 Indiana Avenue N.W.
WASHINGTON, DC 20001

 

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ADDENDUM TO INITIAL ORDER AFFECTING
ALL MEDICAL MALPRACTICE CASES

In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § 16-2301,
et seq. (2007 Winter Supp.), "[a]f`ter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all

parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
D.C. Code§ 16~2821.

To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. D.C. Code § 16-2825 Two separate Early Mediation Forms are available Both forms may be
obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

A roster of medical malpractice mediators available through the Court's Multi~Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers With at least 10 years of significant experience in medical malpractice litigation

D.C. Code§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code§ l6-2823(b).

The following persons are required by statute to attend personally the Early i\/lediation
Conference: (l) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code § 16-2824.

No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(1) attendance; (2) whether a settlement Was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation
D.C. Code§ 16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmediation.

Chief Judge Robert E. Morin

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Superior Court of the District of Columbia
CIVIL DIVISION
Civil Actions Braocl'l
500 lndiana Avenue, N.W., Suite 5000 Washington. D.C. 20001
'l`elephone: (202) 879-1133 Websitc: www.dccourts.gov

 

CHARLES E. TURPIN

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Case Number
DARNELL RAY, et al .
Defendant
Office of the Attorney General
District of Columbia SUMMONS,

To the above named Defendant:

You are hereby summoned and required to serve an Answcr to the attached Complaint, either
personally or through an attorney, within twenty one (21) days after service of this summons upon you,
exclusive of the day of service. lf you are being sued as an officer or agency ofthe United States Govemment
or the District of Columbia Government, you have sixty (60) days after service of this summons to serve your
Answer. A copy of the Answer must be mailed to the attorney for the plaintiff who is suing you. The
attorney’s name and address appear below. if plaintiff has no attomey, a copy of the Answer must be mailed
to the plaintiff at the address stated on this Summons.

You are also required to file the original Answer with the Court in Suite 5000 at 500 indiana Avenue,
N.W., between 8:30 a.m. and `5:00 p.rn._. Mondays through Fridays or between 9:00 a.m. and 12:00 noon on
Saturdays. You may tile the original Answer with the Court either before you serve a copy of the Answer on
the plaintiff o_r within seven (7) days after you have served the plaintiff lf you.fail to file an Answer,
judgment by default may be entered against you for the relief demanded in the‘complaint. ‘

John F. Pressley, Jr.
Nanie of Plaintii`f‘s Attorney

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chal Aid Society (202-628-|16|) or the Ncighborhood Legal Services (202-279-5|00) for help or come to Suite 5000 at 500
indiana Avenue. N.W., for more information concerning places where you may ask for such he|p.

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SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
Civil Division

CHARLES TURPIN
10 Halley Place, S.E., Apt. 202
Washington, D.C. 20032-2331

 

Plaintiff,
v. Civil No.
1 7 “" 0
DARNELL RAY 0 0 6 7 _6 1
2500 Sayles Place, S.E., #9
Washington, D.C. 20020 j
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and CIVIL ACTIONS BRANCH
DISTRICT OF COLUMBIA ncr q 6 2017
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Washington, DC 20004

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Serve: Attorney General/Designees )
441 4th Street, N.W. )
Washington, D.C. 20001 )
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OFFICER ANTHONY ROWLEY
Metropolitan Police Deparunent, 6D
5002 Hayes Street, N.W.
Washington, DC 20019

In his individual and official capacity

and

OFFICER SHANNON STRANGE

Metropolitan Police Department, 6D

5002 Hayes Street, N.W.

Washington, DC 20019

In his individual and official capacity
Defendants

 

VERIFIED COMPLAINT

 

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COMES NOW, Plaintiff, Charles Turpin, by and through his attorney, John F.
Pressley, Jr., Esq., and for his complaint against the defendants herein, alleges as

follows:
I. INTRODUCTION

1. This is a civil action brought pursuant to federal civil rights law (42 U.S.C. §1983)
and the common law of the District of Columbia seeking monetary damages for,
inter alia, violation of civil, constitutional lights and common law rights.

II. JURISDICTION

2. This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 and

D.C. Code §11-921 (2001 ed., as amended).
III. THE PARTIES

3. The plainn`ff, Charles Turpin, at all times relevant to the Cornplaint was a resident
of the District of Columbia.

4. Defendant District of Columbia is a municipal corporation that operates and
governs the Metropolitan Police Department (MPD). In the events of this case,
the Disn*ict of Columbia acted through its agents, employees, and servants, and
the other defendant

5. Defendant Anthony Rowley Was at all times relevant to this action a sworn police
officer employed by the District of Columbia Metropolitan Police Department
(MPD), who participated in the events involved in this action in the manners
described below. At all times relevant to this action he was acting under the color

of District of Columbia law.

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Defendant Shannon Strange was at all times relevant to this action a sworn police
officer employed by the District of Columbia Metropolitan Police Department
(MPD), who participated in the events involved in this action in the manners
described below. At all times relevant to this action he was acting under the color
of District of Columbia law.

IV. STATEMENT OF FACTS
Plaintiff Charles Turpin had resided at 3210 DuBois Street, S.E., Apartment 202,
Washington, D.C. (the premises, “subject premises”) for the previous ten (10)
years with his long time companion of thirty~one years, Jimmie Faye Miles, whose
sole name was on the lease.
The defendant landlord and defendant, Darnell Ray, Was fully aware of the
plaintiffs residence and tenancy at the subject premises. Prior to his wrongful
eviction and arrest, defendant Ray never objected to Mr. Turpin’s tenancy nor did
he ever seek the eviction of Mr. Turpin during his residence at the subject
premises.
Mr. Turpin paid the rent at the subject premises for the last eight (8) years of his
residence at said premises.
Ms. Miles passed away on March 29, 2016 to the great dismay of Mr. Turpin. The
death of his long time companion caused him to fall into a deep depression.
Mr. Turpin continued to reside at the subject premises with the full knowledge of
defendant Ray.
Defendant Ray subsequently tried to sell the apartment building and indicated to

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Mr. Turpin that he had to be out of the apartment before he could do so.

On July 14, 2016, defendant Ray filed a landlord and tenant case against Mr.
Turpin seeking possession of the subject premises In the lawsuit, defendant Ray
claimed that Mr. Turpin was a “squatter".

On October 13, 2016 a Writ of Restitution was approved in Landlord and Tenant
Court. The writ was good for 75 calendar days.

With full knowledge that evictions in the District of Columbia can only be
conducted by the U. S. Marshall Service, defendant Ray paid the required U.S.
Marshall eviction fee.

The Marshall Service, however, was never able to conduct the eviction within the
allotted 75 calendar days and the Writ of Restitution expired on Decernber 27,
2016.

During this time period defendant Ray, apparently out of frustration with the
Marshall service, decided to take things into his own hands. Defendant Ray,
without any notice or communication with Mr. Turpin, illegally changed the locks
on what was still Mr. Turpin’s apartment

Mr. Turpin, as a result of the illegal lockout (i.e. eviction] was without any of his
personal belongings and basic necessities, like a change of clothing. As a result, he
entered the premises by way of forcing the rear door.

For a couple of days, there was no contact or communication with defendant Ray.
Then, on December 29, 2016, defendant Ray sought intervention by calling the

Metropolitan Police.

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Two police officers subsequently showed up. I-Iowever, they refrained from
entering the apartment and indicated that he would have to come outside. After
further conversation with defendant Ray and apparently realizing that this was a
“civil matter” and not a “criminal matter”, the officers left without further
disturbing Mr. Turpin.

Later in the day, defendant Ray came back to the apartment With two different
officers who had a different approach and perspective The officers first spoke
with defendant Ray who told them that Mr. Turpin Was in the property without
permission, that he had been removed from the property but had gained entry by
kicking in the rear door.

The officers subsequently indicated to Mr. Turpin that he had been evicted and
would have to come out. Mr. Turpin, however, indicated to the officers that the
Marshalls had not yet come, that he lived at the apartment, had not done
anything wrong, that he had been locked out of the apartment, that he did not
have keys and that he had kicked in the door to gain entry in order to get his
clothes. As a result, he declined to leave the apartment

Upon Mr. Turpin’s refusal to leave, the officers entered the apartment against the
will of Mr. Turpin and proceeded to arrest and forcibly remove him from the
premises. In the process of removing him from the property, the officers physically
injured Mr. Turpin by gratuitously rubbing his face on the floor of the apartment
and violently thrusting their knees into his back. Mr. Turpin was subsequently
handcuffed and dragged down the stairs and out of the apartment Defendant Ray

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Case 1:17-cV-02453-RC Document 1-3 Filed 11/14/17 Page 10 of 19

looked on and laughed, apparently finding humor in the excessively brutal
removal of Mr Turpin from the apartment,

Mr. Turpin was later taken to the Metropolitan Police Department Sixth District
for initial criminal processing. He was initially charged With destruction of
property ($1,000 or more) and resisting arrest.

Mr. Turpin was then taken to the United Medical Center for treatment of the
injuries that he sustained while being arrested. He was later returned to the Sixth
District.

The full scale prosecution of Mr. Turpin ensued. On July 9, 2017 Mr. Turpin went
to trial. On July 10, 2017 Mr. Turpin was found not guilty of all charges.

COUNT I
(42 U.S.C. §1283 - Illegal Entry - Rowley, Strange)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 25 as if fully set forth herein.

As more fully described above, On December 29, 2016, defendants Anthony
Rowley and Shannon Strange, while acting individually and jointly, as well as
under color of District of Columbia law and within the scope of their employment
as police officers, illegally entered the subject premises without authority to do so.
The plaintiff at the time of entry by the defendants Rowley and Strange was in
lawful possession of the subject premises and had a reasonable expectation of
privacy in said premises.

Any alleged permission given by defendant Damell Ray to enter the subject

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premises was not given within his legal authority to do so as there had not been a
legal eviction executed by the Marshall Service,

The lack of authority on the part of defendant Ray Was readily apparent in light of
the fact that any documentation related to the effort to seek eviction would have
indicated that the writ of restitution had expired on December 27, 2016, two days
prior to the date the defendant officers were seeking to enter the premises.

ln addition, the premises Were not empty, as would be the case if there had been
an eviction of Mr. Turpin and all of his property and personal effects.

Pursuant to police procedures, police are only allowed to get involved in criminal
matters and are not allowed to interfere in “civil matters”, such as landlord tenant
disputes and evictions.

Despite the foregoing, the defendant officers entered Mr. Turpin’s apartment
Without authority to do so at the behest of defendant Ray.

Such intentional and illegal entry by the individual defendants violated plaintiffs
Fourth Amendment right to privacy and his right to be secure in his horne.

There was no exigent circumstance requiring that defendants to enter the
apartment without a warrant or other legal authority.

The right of plaintiff to be secure in his home without having to worry about the
defendants illegally entering her home, Without a warrant, in nonexigent
circumstances was Well established at the time of defendants’ illegal entry.

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(&2 U.S.C. §1283 - False Arrest/False Imprisonment - Rowley, Strange)

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The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 37 as if fully set forth herein.

As more fully described above, defendants Anthony Rowley and Shannon Strange,
while acting individually and jointly, as Well as under color of District of Columbia
law and within the scope of their employment caused plaintiff to be falsely
arrested and imprisoned

Reliance on the representations of defendant Darnell Ray relating to the plaintiffs
status as a tenant were not justified under the objective situation existing at the
time of arrest and detention of the plaintiff

At the time of the arrest of the plaintiff, the writ of restitution was expired and the
premises was not emptied as would be the case if an eviction had, in fact, taken
place previously

Defendant officers were well aware of the MPD policy which prohibited police
officers from getting involved in noncriminal, civil matters, such as landlord
tenant disputes

Despite the foregoing objective facts and the protestations of the plaintiff, the
defendant officers boldly entered the subject premises without a warrant or
probable cause and without legal authority to do so.

The arrest of the plaintiff under the foregoing circumstances resulted in the
unnecessary and illegal detention, restraint and loss of liberty of the plaintiff,
without probable cause or pursuant to a valid arrest warrant, was in violation of
the Fourth Amendment and 42 U.S.C. § 1983.

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CQUNT III
(42 U.S.C. §1283 - Malicious Prosecution - Rowley, Strange)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 43 as if fully set forth herein.

Defendant officers Anthony Rowley and Shannon Strange initiated criminal
proceedings against the plaintiff with full knowledge that said arrest was unlawful
and contrary to MPD policy and procedure and that there was no objective basis
to conclude that the plaintiff was in the subject premises illegally.

The charges were not based upon probable cause, but were maliciously initiated
by defendants Rowley and Strange who ignored the objective evidence and the
pleas and protestations of the plaintiff

The defendant officers had a duty to ascertain the necessary facts and proceed
only if there was reasonable and probable cause for a prosecution.

The criminal proceeding terminated in a manner favorable to the plaintiff when
the court found the plaintiff not guilty on all counts.

The malicious prosecution of the plaintiff Was in violation of protections accorded
to the plaintiff by the Fourth Amendment and 42 U.S.C. § 1983.

COUNT l`V

(Wrongful Eviction - Rowley, Strange)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 50 as if fully set forth herein.

On or about December 26, 2016, defendant Darnell Ray wrongfully changed the
locks of the subject premises without the permission or knowledge of plaintiff

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As more fully described above, a few days later, upon discovery that the plaintiff
had regained entrance into his apartment, defendant Ray sought the assistance of
the Metropolitan police to aid in his eviction of the plaintiff from the premises.
Two police officers responded to defendant Ray’s request for assistance. However,
upon arriving and assessing the situation, the officers declined to get involved
pursuant to their determination that this was a civil matter and not a criminal
matter.

Defendant Ray, however, persisted in trying to obtain the help of the police in
removing the plaintiff from the premises. He contacted the police again, and two
different police officers responded to the scene. The second two officers were the
defendants, Anthony Rowley and Shannon Strange who readily assisted
defendant Ray. The officers proceeded to enter the premises and not only remove
him from the premises but they also forcibly arrested the plaintiff, injuring him in
the process.

This removal and eviction of the plaintiff was wrongful based on defendant Ray’s
knowledge of the facts that: a) self-help evictions are illegal in the District of
Columbia and that b) the U.S. Marshalls are the only ones authorized to carry out
evictions in the District of Columbia and they had never showed up to conduct a
lawful eviction.

Defendant Ray was also aware of the fact that the Writ of restitution which he had
obtained in court had expired at the time that he contacted the police.

The police officer defendants were aware of or should have been aware of the fact

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that an eviction had not taken place and that they had no authority to participate
in any type of civil matter any way. All defendants were wrong in their illegal
eviction of the plaintiff from his apartinent.

COUNT IV
(Trespass - Rowley, Strange)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 ~ 58 as if fully set forth herein.

As more fully described above, on December 29, 2016, defendant officers
Anthony Rowley and Shannon Strange illegally entered plaintiffs apartment
without legal authority and Without the permission of the plaintiff who was in
lawful possession of said premises

In doing so, the individual defendants invaded and disrupted the plaintiffs
exclusive possession of his apartment

At all times relevant to said trespass, defendants Rowley and Strange worked
within the scope of their employment with the District of Columbia Metropolitan
Police Department

M_V
(False Arrest » Rowley, Strange)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 62 as if fully set forth herein.

As more fully described above, On December 29, 2016, defendants Anthony
Rowley and Shannon Strange, while acting individually and jointly illegally
entered the apartment of the plaintiff and arrested the plaintiff

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The arrest and false imprisonment of the plaintiff was without probable cause or
legal justification to do so.

COUNT VI
(Malicious Prosecution - District of Columbia, Rowley, Strange)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 65 as if fully set forth herein.

Defendants caused plaintiff to be improperly subjected to judicial proceedings for
which there was no probable cause. These judicial proceedings were instituted
and continued maliciously, resulting in injury to the plaintiff.

The defendant officers had a duty to ascertain and proceed only if there was
reasonable and probable cause for a prosecution.

rl`he criminal proceeding terminated in favor of Mr. Turpin when he Was found
not guilty of all charges.

At all times relevant to the events in this case, the defendant officers worked
within the scope of his employment with the District of Columbia Metropolitan
Police Department

§QM
(42 U.S.C. §1983 - District of Columbia)

The plaintiff adopts and incorporates each and every allegation contained in
paragraphs 1 - 70 as if fully set forth herein.

MPD police officers in the District of Columbia, on numerous occasions, prior to
the warrantless entry into plaintiffs home, entered the homes of citizens without
a warrant in violation of said citizens’ constitutional rights.

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Many of these constitutional violations were reported to and investigated by the
District of Columbia Office of Police Complaints (OPC).
Complaints investigated and sustained by the OPC are subsequently reported to
the MPD and the Chief of Police. As a result, sufficient notice had been provided
to the District of Columbia that there was a deficiency in MPD training program
with respect to warrantless entries into citizens’ homes and not addressing said
deficiency would lead to continued violations of citizens’ constitutional rights.
The District of Columbia and the MPD, nonetheless, prior to the violation of
plaintiffs constitutional rights continued in its failure to properly train, investigate
and discipline MPD officers with respect to warrantless entries. Said deliberate
indifference was a factor leading to the wrongful entry into the plaintiffs home
and the violation of her constitutional rights.
Said inaction and deliberate indifference on the part of the District of Columbia
constituted a custom and policy in violation of the constitutional rights of the
plaintiff and citizens of the District of Columbia.
PR.AYER FOR RELIEF
Wl-IEREFORE, plaintiff Charles Turpin prays that this court:
a. Award plaintiff $1,000,000 in compensatory damages against all
defendants;
b. Award plaintiff $500,000 in punitive damages against the individual
defendants;
c. Award plaintiff costs against all defendants;

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d. Award plaintiff attorney’s fees; and

e. Grant such other relief as it may deem just and proper.

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I DO SOI..EMNLYl DECLARE AND AFFIRM UNDER. PENAL'I'IES OF PERJURY THAT THE
CONTENTS OF THE FOREGOING DOCUMENT ARE TR.UE AND CORRECT TO THE
BEST OF MY KNOWLEDGE, INFORMATION AND BELIEF.

_c>"?// §rp/Po/ 7

/ Date

 

 

Respectfully submitted,

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/s/ John F. Pressley, Jr.. ."_ §H
: j l
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Attorne_y for Plaintr)j"

RY EMAND

Plaintiff Charles Turpin demands a trial by jury on all issues so triable. !/

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/s/ John F. Pressley, JQ__N/
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John F. Pressiey, Jr. ij

 

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